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                    EXHIBIT 10
                    PUBLIC VERSION FILED 9/2/2022
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                                                            University of Delaware
                                                  2019-2020 ACADEMIC YEAR CALENDAR

  Graduate Accelerated Session Calendar may be found here.                           Information on religious observances at bottom of calendar.

          FOR THE MOST UP-TO-DATE INFORMATION, PLEASE REFER TO THE ONLINE CALENDAR, RATHER THAN A PRINTED VERSION.
         PREPARED BY TIIE OFFICE OF TIIE UNIVERSITY REGISTRAR. FOR QUESTIONS OR COMMENTS: registrarkudel.edu 11/01/2019


Fall Semester 2019                                                                  Dec 2    Mon   Deadline for filing application for graduate degrees to be
                                                                                                   conferred in February 2020.
Apr 15    Mon   Fall book orders are due by faculty to the UD Bookstore             Dec 5    Thu   Last day of classes, classes end at 10:00 p.m.
Apr 22    Mon   Registration begins for Fall Semester 2019                          Dec 5    Thu   Last day for medical leave of absence to be processed
May 1     Wed   Undergraduate admission application deadline for first year         Dec 6    Fri   Reading Day: no examinations scheduled
                students entering Fall semester                                     Dec 9    Mon   Final examinations begin
May 1     Wed   Admissions deposit deadline for admitted freshmen                   Dec 14   Sat   Final examinations end. Residence halls close at 10:00 p.m.
Jun 25    Tue   New Student Orientation begins                                      Dec 14   Sat   Last meal in dining halls - dinner
Jul 1     Mon   Deadline for graduate admission applications for Fall 2019.         Dec 18   Wed   Deadline for 2019 Fall semester grades to be posted to UDSIS
                Most programs have earlier deadlines.
Jul 24  Wed     New Student Orientation ends                                        Winter Session 2020
Aug 1   Thu     Undergraduate tuition/fee payment deadline for Fall 2019
Aug 22-23       International Student Orientation                                   Sep 16   Mon   Winter book orders are due by faculty to the UD Bookstore
Aug 24-26       1743 Welcome Days for new students                                  Oct 28   Mon   Registration begins for Winter Session 2020
Aug 24 Sat      Residence hall check-in for new students; 8:00 a.m. to              Jan 5    Sun   Residence hall check-in (5-week classes) Noon to 6:00 p.m.
                2:00 p.m.                                                           Jan 5    Sun   First meal in dining halls - dinner
Aug 24 Sat      First meal in dining halls for new students - lunch                 Jan 6    Mon   Classes begin at 8:00 a.m. (5-week classes) Residence hall
Aug 25 Sun      Residence hall check-in for returning students 8:00 a.m. to                        check-in for Winter Session walk-ins, 9:00 a.m. to 3.00 p.m.
                4:00 p.m.                                                           Jan 6    Mon   Tuition/fee payment deadline for Winter Session 2020.
Aug 25    Sun   First meal in dining halls for returning students - dinner          Jan 9    Thu   Last day to add or drop courses. (5-week classes) After this
Aug 26    Mon   Academic Orientations                                                              date, no tuition will be rebated and a $25 processing fee will
Aug 26    Mon   Residence hall check-in for returning students: 11:00 a.m. to                      be charged for change of registration; students withdrawing
                3:00 p.m.                                                                          from courses will receive a grade of 'W' on permanent record.
Aug 26 Mon      Last day to apply for readmission for Fall 2019                     Jan 9    Thu   Deadline for changing dining plan — 5-week meal plan.
Aug 27 Tue      Classes begin at 8:00 a.m.                                          Jan 12   Sun   Residence Hall check-in (4-week classes) Noon to 6:00 p.m.
Aug 27 Tue      Graduate/PCS tuition/fee payment deadline for Fall 2019.            Jan 13   Mon   Classes begin at 8:00 a.m. (4-week classes) Residence hall
                Classes subject to cancellation after this date.                                   check-in for Winter Session walk-ins, 9:00 a.m. to 3.00 p.m.
Aug 30 Fri      Deadline for admission to doctoral candidacy for degrees to be      Jan 15   Wed   Deadline for receipt of dissertations, education leadership
                conferred in December 2019 or February 2020                                        portfolios and master's theses for degrees to be conferred in
Sep 2     Mon   Labor Day Holiday- University offices closed; classes                              February 2020.
                suspended.                                                          Jan 16   Thu   Last day to add or drop courses. (4-week classes) After this
Sep 10    Tue   Last day to add or drop courses. After this date, no tuition will                  date, no tuition will be rebated and a $25 processing fee will
                be rebated and a $25 processing fee will be charged for change                     be charged for change of registration; students withdrawing
                of registration; students withdrawing from courses will receive                    from courses will receive a grade of 'W' on permanent record.
                a grade of `W' on permanent record.                                 Jan 16   Thu   Deadline for changing dining plan — 4-week meal plan
Sep 10    Tue   Last day to apply for a leave of absence for Fall 2019              Jan 20   Mon   Martin Luther King Holiday - classes suspended; University
Sep 10    Tue   Deadline for changing dining plan                                                  offices closed.
Sep 10    Tue   UNDERGRADUATE STUDENTS - Deadline for                               Jan 24   Fri   Last day to change registration or withdraw. (5-week classes)
                completion of deferred examinations and incomplete work             Jan 28   Tue   Last day to change registration or withdraw. (4-week classes)
                (grade I) from Spring Semester 2019 and 2019 Summer                 Feb 7    Fri   Last day of classes
                Sessions.                                                           Feb 8    Sat   Final examinations. Students leaving after Winter Session
Sep 16    Mon   Winter 2020 book orders are due by faculty to UD Bookstore.                        must checkout of residence hall by 6:00 p.m.
Sep 16    Mon   Deadline for filing application for graduate degrees to be          Feb 8    Sat   Last meal in dining halls — dinner
                conferred in December 2019                                          Feb 12   Wed   Deadline for winter session grades to be posted to UDSIS
Oct 11    Fri   Fall Break/ Blue Hen Re-Coop Day, classes suspended
Oct 11    Fri   Deadline for midterm grades to be posted in UDSIS                   Spring Semester 2020
Oct 15    Tue   Spring 2020 book orders are due by Faculty to UD Bookstore.
Oct 22    Tue   Last day to change registration or to withdraw from courses
                                                                                    Oct 15   Tue   Spring book orders are due by faculty to the UD Bookstore.
                without academic penalty for Fall 2019.
                                                                                    Nov 1    Fri   Undergraduate admission application deadline for first year
Oct 22    Tue   GRADUATE STUDENTS - Deadline for completion of
                                                                                                   and transfer students entering Spring Semester 2020.
                deferred examinations and incomplete work (grade I) from
                                                                                    Nov 11   Mon   Registration begins for Spring Semester 2020
                Spring Semester 2019 and 2019 Summer Sessions.
                                                                                    Dec 2    Mon   Deadline for graduate admission applications for Spring 2020
Oct 28 Mon      Registration begins for Winter Session 2020
                                                                                    Jan 6    Mon   Undergraduate Tuition/fee payment deadline for Spring 2020
Nov 11 Mon      Registration begins for Spring Semester 2020
                                                                                    Feb 6    Thu   Winter International New Student Orientation
Nov 14 Thu      Deadline for receipt of doctoral dissertations and education
                                                                                    Feb 7    Fri   Winter New Student Orientation
                leadership portfolios for degrees to be conferred in December
                                                                                    Feb 7    Fri   Last day to apply for readmission for Spring 2020
                2019.
                                                                                    Feb 9    Sun   Residence hall check-in noon to 6:00 p.m.
Nov. 14 Thu     Deadline for receipt of master's theses for degrees to be
                                                                                    Feb 9    Sun   First meal in dining halls — brunch
                conferred in December 2019
                                                                                    Feb 10   Mon   Classes begin at 8:00 a.m. Residence hall check-in 11:00 a.m.
Nov 22    Fri   Thanksgiving break begins after last class; classes end at
                                                                                                   - 3:00 p.m.
                10 p.m. Residence Halls close at 7:00 p.m.
                                                                                    Feb 10   Mon   Graduate/PCS tuition/fee payment deadline for Spring 2020.
Nov 22 Fri      Last meal in dining halls before Thanksgiving Break - lunch
                                                                                                   Classes subject to cancellation after this date.
Nov 25-29       Classes suspended Monday through Friday for Thanksgiving
                                                                                    Feb 14   Fri   Deadline for filing application for graduate degrees to be
                break
                                                                                                   conferred in May 2020.
Nov 28    Thu   Holiday - University offices closed.
                                                                                    Feb 21   Fri   Last day to add or drop courses. After this date, no tuition will
Nov 29    Fri   Holiday - University offices closed.
                                                                                                   be rebated and a $25 processing fee will be charged for change
Dec 1     Sun   Residence halls re-open at noon.
                                                                                                   of registration; students withdrawing from courses will receive
Dec 1     Sun   First meal in dining halls after Thanksgiving break- dinner
                                                                                                   a grade of 'W' on permanent record.
Dec 2     Mon   Classes resume following Thanksgiving break
                                                                                    Feb 21   Fri   Last day to apply for a leave of absence for Spring 2020
Dec 2     Mon   Deadline for graduate admission applications for Spring 2020.
                                                                                    Feb 21   Fri   Deadline for changing dining plan


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Feb 21   Fri      UNDERGRADUATE STUDENTS - Deadline for                             Jun 8    Mon     Tuition/fee payment deadline First Summer Session
                  completion of deferred examinations and incomplete work           Jun 11   Thu     Last day to add or drop courses for First Summer Session.
                  (grade I) from Fall Semester 2019, and Winter Session 2020.                        After this date, no tuition will be rebated and a $25 processing
Feb 24   Mon      Deadline for admission to doctoral candidacy for degrees                           fee will be charged for change of registration; students
                  conferred in May 2020.                                                             withdrawing from courses will receive a grade of 'W' on
Mar 16   Mon      Summer 2020 book orders are due by faculty to UD Bookstore.                        permanent record.
Mar 23   Mon      GRADUATE STUDENTS - Deadline for completion of                    Jun 11   Thu     Deadline for change in Dining plan.
                  deferred examinations and incomplete work (grade I) from          Jun 25   Thu     Last day to change registration or to withdraw from courses -
                  Fall Semester 2019 and Winter Session 2020.                                        first summer session (5-week course).
Mar 27   Fri      Deadline for midterm grades to be posted to UDSIS                 Jul 1    Wed     Deadline for graduate admission applications for Fall 2020.
Mar 27   Fri      Spring break begins after last scheduled class; Residence halls                    Most programs have earlier deadlines.
                  close at 7:00 p.m.                                                Jul 3    Fri     Independence Day Holiday observed; Classes suspended;
Mar 27   Fri      Last meal in dining halls before Spring break - dinner                             University Offices closed. All dining services are closed.
Apr 5    Sim      Residence halls re-open at noon.                                  Jul      Tue     Last day to change registration or to withdraw from courses -
Apr 5    Sun      First meal in dining halls after Spring break - dinner                             first summer session (7'/-week course).
Apr 6    Mon      Classes resume after Spring break at 8:00 a.m.                    Jul 10   Fri     Classes end — 5-week Summer Session.
Apr 6    Mon      Registration for 2020 Summer Sessions begins                      Jul 11   Sat     Final examinations- 5-week Summer Session. Students
Apr 6    Mon      Deadline for graduate admission applications for June 2020.                        attending 5-week summer session to check out of residence
Apr 13   Mon      Last day to change registration or to withdraw from courses                        halls by 7:00 p.m.
                  without academic penalty for Spring 2020                          Jul 15   Wed     Deadline for 5-week Summer Session grades to be posted to
Apr 13   Mon      Deadline for receipt of doctoral dissertations and education                       UDSIS.
                  leadership portfolios for degrees conferred in May 2020.          Jul 27   Mon     Classes end -7'/2-week Summer Session classes meeting
Apr 15   Wed      Fall 2020 book orders are due by Faculty to UD Bookstore.                          Monday/Wednesday.
Apr 20   Mon      Registration begins for Fall Semester 2020                        Jul 28   Tue     Classes end -7'/2-week Summer Session classes meeting
Apr 20   Mon      Deadline for receipt of master's thesis for degrees to be                          Tuesday/Thursday.
                  conferred in May 2020.                                            Jul 29   Wed     Final exams - 7V-week Summer Session classes meeting
May 1    Fri      Undergraduate admission application deadline for first year                        Monday/Wednesday.
                  students entering Fall 2020                                       Jul 30   Thu     Final exams - 7'/2-week Summer Session classes meeting
May 1    Fri      Admissions deposit deadline for first year students                                Tuesday/Thursday. Students attending 7'/2-week sessions to
May 1    Fri      Deadline for admission to doctoral candidacy for degrees to be                     check out of residence halls by 7:00 p.m.
                  conferred in August 2020.                                         Aug 3    Mon     Deadline for 7V-week Summer Session grades to be posted to
May 4    Mon      Deadline for filing application for graduate degrees to be                         UDSIS.
                  conferred in August 2020.
May 18   Mon      Last class day; classes end at 10:00 p.m.                         Second Summer Session 2020
May 18   Mon      Last day for medical leave of absence to be processed
May 19   Tue      Reading Day, no examinations scheduled.                           Mar 16   Mon     Summer book orders are due by faculty to the UD Bookstore.
May 20   Wed      Final examinations begin.                                         Apr 6    Mon     Registration for 2020 Summer Sessions begins.
May 25   Mon      Memorial Day observed; no exams, offices closed                   Jul 12   Sun     Residence halls check-in noon to 5:00 p.m.
May 28   Thu      Final examinations end. Residence Halls close at 10:00 p.m.       Jul 13   Mon     Classes begin at 8:00 am. - Second Summer Session
                  (except for graduating students).                                 Jul 13   Mon     Tuition/fee payment deadline for Second Summer Session.
May 28 Thu        Last meal in dining halls - dinner                                Jul 13   Mon     Deadline for receipt of doctoral dissertations, education
May 29 Fri        Honors degree breakfast, Doctoral Hooding and some college                         leadership portfolios and master's theses for degrees to be
                  convocations.                                                                      conferred in August 2020.
May 30   Sat      Commencement followed by remaining college convocations.          Jul 16   Thu     Last day to add or drop courses for Second Summer Session.
May 30   Sat      Residence halls close at 6:00 p.m. for graduating students.                        After this date, no tuition will be rebated and a $25 processing
Jun 1    Mon      Deadline for Spring semester grades to be posted to UDSIS                          fee will be charged for change of registration; students
Jun 5    Fri      Alumni Weekend begins                                                              withdrawing from courses will receive a grade of 'W' on
                                                                                                     permanent record.
First Summer Session 2020                                                           Jul 16   Thu     Deadline for change in Dining plans.
                                                                                    Jul 30   Thu     Last day to change registration or to withdraw from courses -
Mar 16   Mon      Summer book orders are due by faculty to the UD Bookstore.                         Second Summer Session.
Apr 6    Mon      Registration for 2020 Summer Sessions begins                      Aug 13 Thu       Last day of classes — Second Summer Session.
May 1    Fri      Deadline for admission to doctoral candidacy for degrees to be    Aug 14 Fri       Final examinations. Residence halls close for Second Summer
                  conferred in August 2020.                                                          Session at 7:00 p.m.
May 4    Mon      Deadline for filing application for graduate degrees to be        Aug 14 Fri       Last meal in dining halls - dinner.
                  conferred in August 2020.                                         Aug 18 Tues      Deadline for Second Summer Session grades to be posted to
Jun 7    Sun      Residence hall check-in for 5 and 7'/z week sessions, noon to                      UDSIS.
                  5 p.m.
Jun 7    Sun      First meal in dining halls - dinner
Jun 8    Mon      Classes begin at 8:00 a.m. - First Summer Session


                                                              RELIGIOUS OBSERVANCES
               Sunday, September 29, 2019 — Rosh Hashanah begins at sundown, continues next 2 days
               Tuesday, October 8, 2019— Yom Kippur begins at sundown, continues following day
               Wednesday, April 8, 2020 - Passover begins, continues for 7 days
               Friday, April 10, 2020 — Good Friday

  See policy in Faculty Handbook on excused absences. Comprehensive List of Observances can be found here: Interfaith calendar




                                                                                                                                                        U D_0189404
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                    EXHIBIT 11
                    PUBLIC VERSION FILE 9/2/2022
         Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 5 of 91 PageID #: 2433
                                                          University of Delaware
                                                2019-2020 ACADEMIC YEAR CALENDAR

  Graduate Accelerated Session Calendar may be found here.                         Information on religious observances at bottom of calendar.

          FOR THE MOST UP-TO-DATE INFORMATION, PLEASE REFER TO THE ONLINE CALENDAR, RATHER THAN A PRINTED VERSION.
         PREPARED BY TIIE OFFICE OF TIIE UNIVERSITY REGISTRAR. FOR QUESTIONS OR COMMENTS: registrar(a udel.edu 4/22/2020


Fall Semester 2019                                                                 Dec 5    Thu   Last day of classes, classes end at 10:00 p.m.
                                                                                   Dec 5    Thu   Last day for medical leave of absence to be processed
Apr 15   Mon   Fall book orders are due by faculty to the UD Bookstore             Dec 6    Fri   Reading Day: no examinations scheduled
Apr 22   Mon   Registration begins for Fall Semester 2019                          Dec 9    Mon   Final examinations begin
May 1    Wed   Undergraduate admission application deadline for first year         Dec 14   Sat   Final examinations end. Residence halls close at 10:00 p.m.
               students entering Fall semester                                     Dec 14   Sat   Last meal in dining halls - dinner
May 1    Wed   Admissions deposit deadline for admitted freshmen                   Dec 18   Wed   Deadline for 2019 Fall semester grades to be posted to UDSIS
Jun 25   Tue   New Student Orientation begins
Jul 1    Mon   Deadline for graduate admission applications for Fall 2019.         Winter Session 2020
               Most programs have earlier deadlines.
Jul 24  Wed    New Student Orientation ends                                        Sep 16   Mon   Winter book orders are due by faculty to the UD Bookstore
Aug 1   Thu    Undergraduate tuition/fee payment deadline for Fall 2019            Oct 28   Mon   Registration begins for Winter Session 2020
Aug 22-23      International Student Orientation                                   Jan 3    Fri   Last day to apply for readmission for Winter 2020
Aug 24-26      1743 Welcome Days for new students                                  Jan 5    Sun   Residence hall check-in (5-week classes) Noon to 6:00 p.m.
Aug 24 Sat     Residence hall check-in for new students; 8:00 a.m. to 2:00 p.m.    Jan 5    Sun   First meal in dining halls - dinner
Aug 24 Sat     First meal in dining halls for new students - lunch                 Jan 6    Mon   Classes begin at 8:00 a.m. (5-week classes) Residence hall
Aug 25 Sun     Residence hall check-in for returning students 8:00 a.m. to                        check-in for Winter Session walk-ins, 9:00 a.m. to 3.00 p.m.
               4:00 p.m.                                                           Jan 6    Mon   Tuition/fee payment deadline for Winter Session 2020.
Aug 25   Sun   First meal in dining halls for returning students - dinner          Jan 9    Thu   Last day to add or drop courses. (5-week classes) After this
Aug 26   Mon   Academic Orientations                                                              date, no tuition will be rebated and a $25 processing fee will be
Aug 26   Mon   Residence hall check-in for returning students: 11:00 a.m. to                      charged for change of registration; students withdrawing from
               3:00 p.m.                                                                          courses will receive a grade of `W' on permanent record.
Aug 26 Mon     Last day to apply for readmission for Fall 2019                     Jan 9    Thu   Deadline for changing dining plan 5-week meal plan.
Aug 27 Tue     Classes begin at 8:00 a.m.                                          Jan 12   Sun   Residence Hall check-in (4-week classes) Noon to 6:00 p.m.
Aug 27 Tue     Graduate/PCS tuition/fee payment deadline for Fall 2019.            Jan 13   Mon   Classes begin at 8:00 a.m. (4-week classes) Residence hall
               Classes subject to cancellation after this date.                                   check-in for Winter Session walk-ins, 9:00 a.m. to 3.00 p.m.
Aug 30 Fri     Deadline for admission to doctoral candidacy for degrees to be      Jan 15   Wed   Deadline for receipt of dissertations, education leadership
               conferred in December 2019 or February 2020                                        portfolios and master's theses for degrees to be conferred in
Sep 2    Mon   Labor Day Holiday- University offices closed; classes                              February 2020.
               suspended.                                                          Jan 16   Thu   Last day to add or drop courses. (4-week classes) After this
Sep 10   Tue   Last day to add or drop courses. After this date, no tuition will                  date, no tuition will be rebated and a $25 processing fee will be
               be rebated and a $25 processing fee will be charged for change                     charged for change of registration; students withdrawing from
               of registration; students withdrawing from courses will receive                    courses will receive a grade of `W' on permanent record.
               a grade of `W' on permanent record.                                 Jan 16   Thu   Deadline for changing dining plan — 4-week meal plan
Sep 10   Tue   Last day to apply for a leave of absence for Fall 2019              Jan 20   Mon   Martin Luther King Holiday - classes suspended; University
Sep 10   Tue   Deadline for changing dining plan                                                  offices closed.
Sep 10   Tue   UNDERGRADUATE STUDENTS - Deadline for completion                    Jan 24   Fri   Last day to change registration or withdraw. (5-week classes)
               of deferred examinations and incomplete work (grade I) from         Jan 28   Tue   Last day to change registration or withdraw. (4-week classes)
               Spring Semester 2019 and 2019 Summer Sessions.                      Feb 7    Fri   Last day of classes
Sep 16   Mon   Winter 2020 book orders are due by faculty to UD Bookstore.         Feb 8    Sat   Final examinations. Students leaving after Winter Session must
Sep 16   Mon   Deadline for filing application for graduate degrees to be                         checkout of residence hall by 6:00 p.m.
               conferred in December 2019                                          Feb 8    Sat   Last meal in dining halls — dinner
Oct 11   Fri   Fall Break/ Blue Hen Re-Coop Day, classes suspended                 Feb 12   Wed   Deadline for winter session grades to be posted to UDSIS
Oct 11   Fri   Deadline for midterm grades to be posted in UDSIS
Oct 15   Tue   Spring 2020 book orders are due by Faculty to UD Bookstore.         Spring Semester 2020
Oct 22   Tue   Last day to change registration or to withdraw from courses
               without academic penalty for Fall 2019.
                                                                                   Oct 15   Tue   Spring book orders are due by faculty to the UD Bookstore.
Oct 22   Tue   GRADUATE STUDENTS - Deadline for completion of
                                                                                   Nov 1    Fri   Undergraduate admission application deadline for first year and
               deferred examinations and incomplete work (grade I) from
                                                                                                  transfer students entering Spring Semester 2020.
               Spring Semester 2019 and 2019 Summer Sessions.
                                                                                   Nov 11   Mon   Registration begins for Spring Semester 2020
Oct 28 Mon     Registration begins for Winter Session 2020
                                                                                   Dec 2    Mon   Deadline for graduate admission applications for Spring 2020
Nov 11 Mon     Registration begins for Spring Semester 2020
                                                                                   Jan 6    Mon   Undergraduate Tuition/fee payment deadline for Spring 2020
Nov 14 Thu     Deadline for receipt of doctoral dissertations and education
                                                                                   Feb 6    Thu   Winter International New Student Orientation
               leadership portfolios for degrees to be conferred in December
                                                                                   Feb 7    Fri   Winter New Student Orientation
               2019.
                                                                                   Feb 7    Fri   Last day to apply for readmission for Spring 2020
Nov. 14 Thu    Deadline for receipt of master's theses for degrees to be
                                                                                   Feb 9    Sun   Residence hall check-in noon to 6:00 p.m.
               conferred in December 2019
                                                                                   Feb 9    Sun   First meal in dining halls — brunch
Nov 22   Fri   Thanksgiving break begins after last class; classes end at
                                                                                   Feb 10   Mon   Classes begin at 8:00 a.m. Residence hall check-in 11:00 a.m. -
               10 p.m. Residence Halls close at 7:00 p.m.
                                                                                                  3:00 p.m.
Nov 22 Fri     Last meal in dining halls before Thanksgiving Break - lunch
                                                                                   Feb 10   Mon   Graduate/PCS tuition/fee payment deadline for Spring 2020.
Nov 25-29      Classes suspended Monday through Friday for Thanksgiving
                                                                                                  Classes subject to cancellation after this date.
               break
                                                                                   Feb 14   Fri   Deadline for filing application for graduate degrees to be
Nov 28   Thu   Holiday - University offices closed.
                                                                                                  conferred in May 2020.
Nov 29   Fri   Holiday - University offices closed.
                                                                                   Feb 21   Fri   Last day to add or drop courses. After this date, no tuition will
Dec 1    Sun   Residence halls re-open at noon.
                                                                                                  be rebated and a $25 processing fee will be charged for change
Dec 1    Sun   First meal in dining halls after Thanksgiving break- dinner
                                                                                                  of registration; students withdrawing from courses will receive
Dec 2    Mon   Classes resume following Thanksgiving break
                                                                                                  a grade of 'W' on permanent record.
Dec 2    Mon   Deadline for graduate admission applications for Spring 2020.
                                                                                   Feb 21   Fri   Last day to apply for a leave of absence for Spring 2020
Dec 2    Mon   Deadline for filing application for graduate degrees to be
                                                                                   Feb 21   Fri   Deadline for changing dining plan
               conferred in February 2020.



                                                                                                                                                    UD_0189593
Feb 21   Case
         Fri  1:20-cv-01478-SB
             UNDERGRADUATE        Document
                           STUDENTS                 96-2 Filed
                                    - Deadline for completion Jun 09/02/22
                                                                  19 Fri     Page
                                                                          **Last day to6 ofcourses
                                                                                       drop 91 PageID           #: 2434
                                                                                                   for First Summer Session. (5-week
               of deferred examinations and incomplete work (grade I) from                         and 7.5 week) After this date, no tuition will be rebated and a
               Fall Semester 2019, and Winter Session 2020.                                        $25 processing fee will be charged for change of registration;
Feb 24   Mon   Deadline for admission to doctoral candidacy for degrees                            students withdrawing from courses will receive a grade of `W'
               conferred in May 2020.                                                              on permanent record.
Mar 12-13      **Classes suspended                                                Jun 25   Thu     Last day to change registration or to withdraw from courses -
Mar 14-29      **Spring break                                                                      first summer session (5-week course).
Mar 16 Mon     Summer 2020 book orders are due by faculty to UD Bookstore.        Jul l    Wed     Deadline for graduate admission applications for Fall 2020.
Mar 30 Mon     **Classes resume in online format                                                   Most programs have earlier deadlines.
Apr 6   Mon    Deadline for graduate admission applications for June 2020.        Jul 3    Fri     Independence Day Holiday observed; Classes suspended;
Apr 10 Fri     **Deadline for midterm grades to be posted to UDSIS                                 University Offices closed. All dining services are closed.
Apr 13 Mon     **There is some flexibility in deadlines for submission of         Jul 7    Tue     Last day to change registration or to withdraw from courses -
               doctoral dissertations and education leadership portfolios for                      first summer session (7'/ -week course).
               degrees conferred in May 2020. Please contact Mary Martin for      Jul 10   Fri     Classes end — 5-week Summer Session.
               additional details.                                                Jul 11   Sat     Final examinations- 5-week Summer Session. Students
Apr 15   Wed   Fall 2020 book orders are due by Faculty to UD Bookstore.                           attending 5-week summer session to check out of residence
Apr 20   Mon   **Registration for 2020 Summer Sessions begins                                      halls by 7:00 p.m.
Apr 20   Mon   **There is some flexibility in deadlines for receipt of master's   Jul 15   Wed     Deadline for 5-week Summer Session grades to be posted to
               thesis for degrees to be conferred in May 2020. Please contact                      UDSIS.
               Mary Martin for additional details.                                Jul 27   Mon     Classes end — 7½-week Summer Session classes meeting
May 1    Fri   **Last day to change registration or to withdraw from courses                       Monday/Wednesday.
               without academic penalty for Spring 2020                           Jul 28   Tue     Classes end — 7½-week Summer Session classes meeting
May 1    Fri   Undergraduate admission application deadline for first year                         Tuesday/Thursday.
               students entering Fall 2020                                        Jul 29   Wed     Final exams - 7'/2-week Summer Session classes meeting
May 1    Fri   Admissions deposit deadline for first year students                                 Monday/Wednesday.
May 1    Fri   Deadline for admission to doctoral candidacy for degrees to be     Jul 30   Thu     Final exams - 7½-week Summer Session classes meeting
               conferred in August 2020.                                                           Tuesday/Thursday.
May 4    Mon   **Registration begins for Fall Semester 2020                       Aug 3    Mon     Deadline for 7½-week Summer Session grades to be posted to
May 4    Mon   Deadline for filing application for graduate degrees to be                          UDSIS.
               conferred in August 2020.
May 15 Fri     **GRADUATE STUDENTS - Deadline for completion of                   Second Summer Session 2020
               deferred examinations and incomplete work (grade I) from Fall
               Semester 2019 and Winter Session 2020.                             Apr 20   Mon     **Registration for 2020 Summer Sessions begins.
May 18   Mon   Last class day; classes end at 10:00 p.m.                          Jul 13   Mon     Classes begin at 8:00 a.m. - Second Summer Session
May 18   Mon   Last day for medical leave of absence to be processed              Jul 13   Mon     Tuition/fee payment deadline for Second Summer Session.
May 19   Tue   Reading Day, no examinations scheduled.                            Jul 13   Mon     Deadline for receipt of doctoral dissertations, education
May 20   Wed   Final examinations begin,                                                           leadership portfolios and master's theses for degrees to be
May 25   Mon   Memorial Day observed; no exams, offices closed                                     conferred in August 2020.
May 28   Thu   Final examinations end.                                            Jul 16   Thu     **Last day to add courses for Second Summer Session.
May 29   Fri   **Postponed -Honors degree breakfast, Doctoral Hooding and         Jul 24   Fri     **Last day to drop courses for Second Summer Session. After
               some college convocations,                                                          this date, no tuition will be rebated and a $25 processing fee
May 30 Sat     **Postponed -Commencement followed by remaining college                             will be charged for change of registration; students withdrawing
               convocations,                                                                       from courses will receive a grade of `W' on permanent record.
Jun 1    Mon   Deadline for Spring semester grades to be posted to UDSIS          Jul 30   Thu     Last day to change registration or to withdraw from courses -
Jun 5    Fri   ** Canceled - Alumni Weekend begins                                                 Second Summer Session.
Jun 9    Tue   **Last day to submit a change from letter grade to High            Aug 13 Thu       Last day of classes — Second Summer Session.
               Pass/Mid Pass grading option                                       Aug 14 Fri       Final examinations.
                                                                                  Aug 18 Tues      Deadline for Second Sumner Session grades to be posted to
First Summer Session 2020                                                                          UDSIS.

Mar 16   Mon   Summer hook orders are due by faculty to the IJD Bookstore.        Summer Session 2020 — 10-week classes
Apr 20   Mon   **Registration for 2020 Summer Sessions begins
May 1    Fri   Deadline for admission to doctoral candidacy for degrees to be     Jun 17   Wed     **Last day to add 10-week courses.
               conferred in August 2020.                                          Jun 19   Fri     **Last day to drop 10-week courses. After this date, no tuition
May 4    Mon   Deadline for filing application for graduate degrees to be                          will be rebated and a $25 processing fee will be charged for
               conferred in August 2020.                                                           change of registration; students withdrawing from courses will
Jun 5    Fri   Last day to apply for readmission for Summer 2020                                   receive a grade of `W' on permanent record.
Jun 8    Mon   Classes begin at 8:00 a.m. - First Summer Session                  Jul 16 Thu       Last day to change registration or withdraw from courses
Jun 8    Mon   Tuition/fee payment deadline First Summer Session                  Aug 14 Fri       Last day of final exams
Jun 11   Thu   **Last day to add courses for First Summer Session (5-week
               and 7.5 week).


                                                                                                   RELIGIOUS OBSERVANCES
                                                                                  Sunday, September 29, 2019 — Rosh Hashanah begins at sundown, continues
                                                                                  next 2 days
                                                                                  Tuesday, October 8, 2019— Yom Kippur begins at sundown, continues
                                                                                  following day
                                                                                  Wednesday, April 8, 2020 - Passover begins, continues for 7 days
                                                                                  Friday, April 10, 2020 — Good Friday

                                                                                  See policy in Faculty Handbook on excused absences.
** Changes due to Coronavirus COVID-19 Pandemic                                   Comprehensive List of Observances can be found here: Interfaith calendar




                                                                                                                                                    U D_0189594
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                    EXHIBIT 12
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 8 of 91 PageID #: 2436




                    EXHIBIT 13
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 9 of 91 PageID #: 2437




                    EXHIBIT 14
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 10 of 91 PageID #: 2438




                    EXHIBIT 15
                     REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 11 of 91 PageID #: 2439




                    EXHIBIT 17
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 12 of 91 PageID #: 2440




                    EXHIBIT 18
                     REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 13 of 91 PageID #: 2441




                    EXHIBIT 19
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 14 of 91 PageID #: 2442




                    EXHIBIT 20
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 15 of 91 PageID #: 2443




                    EXHIBIT 21
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 16 of 91 PageID #: 2444




                    EXHIBIT 29
                     REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 17 of 91 PageID #: 2445




                    EXHIBIT 30
                     REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 18 of 91 PageID #: 2446




                    EXHIBIT 31
                    REDACTED IN ITS ENTIRETY
Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 19 of 91 PageID #: 2447




                    EXHIBIT 35
                    PUBLIC VERSION FILED 9/2/2022
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  PENNY NINIVAGGI, et al., individually and
  on behalf of all others similarly situated,       Civil Action No. 20-cv-1478-SB

                                Plaintiffs,

         v.

  UNIVERSITY OF DELAWARE,

                                 Defendant.

  HANNAH RUSSO, individually and on be-
  half of all others similarly situated,            Civil Action No. 20-cv-1693-SB

                                Plaintiff,

         v.

  UNIVERSITY OF DELAWARE,

                                 Defendant.


 DEFENDANT THE UNIVERSITY OF DELAWARE’S FIRST SET OF REQUESTS FOR
                ADMISSION DIRECTED TO PLAINTIFFS

       Defendant the University of Delaware (the “University” or “Defendant”), by and through

its undersigned counsel, and pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure

(the “Rules”), hereby serves on Plaintiffs the following Requests for Admission (the “Requests”

and each a “Request”), and request each named Plaintiff separately admit to facts contained herein.

Pursuant to Rule 36(a)(3), if an answer to any Request for Admission is not received within thirty

(30) days, the facts contained in that Request for Admission will be deemed admitted.

                            DEFINITIONS AND INSTRUCTIONS

        1. “Action” means the above-captioned action.

        2. “Plaintiffs,” “You,” or “Your” means Penny Ninivaggi, Michael Ninivaggi, Todd
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 Mickey, Jake Mickey, James Nigrelli, Cailin Nigrelli, and Hannah Russo, and anyone purporting

 to act on your behalf or for your benefit at any time. For each named Plaintiff, “You” or “Your”

 shall mean that particular Plaintiff responding to the Requests.

         3.   “Defendant” means the University of Delaware.

         4. The “University” means the University of Delaware.

         5. “Complaint” means the complaint filed by Russo in the Superior Court of Delaware

 under the name Russo v. University of Delaware (No. N20C-11-164 PRW CCLD), the complaint

 filed by Ninivaggi et al. in the Superior Court of Delaware under the name Ninivaggi et al. v.

 University of Delaware (No. N20C-08-121 DCS), or the Consolidated Class Action Complaint

 filed on September 3, 2021, in the above captioned matters. (See Russo D.I. 24).

         6.   “Answer” means the Answer and corresponding Affirmative Defenses to the

 Consolidated Class Action Complaint filed by the University on September 17, 2021. (See Russo

 D.I. 25).

         7. “Fees Class” means the putative class alleged in Paragraph 55 of the Consolidated

 Class Action Complaint. The University denies that any and all alleged “classes” can properly

 be certified in this matter, and reserves all rights to contest any allegation that such “classes” exist

 in this matter, so this label is only for reference during discovery.

         8.   “Use” or “Used” should be interpreted broadly to include its ordinary meaning, as

 well as to utilize, consume, take advantage of, or put into action or service

         9.   “Document” or “documents” means the original and any non-identical copy (whether

 different from the originals because of notes made on such copies or otherwise) of writings or

 recordings of every kind and description, whether made by hand or by mechanical, electronic,



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 photographic, or other means including, but not limited to, letters, notes, correspondence,

 electronic mail, reports, proposals, change of orders, certifications, memoranda, agreements,

 contracts, contract modifications, field directives, clarifications, work orders, recordings,

 memorials of telephone conversations, meeting minutes, inter-office and intra-office

 communications, work papers, bids, bid evaluation records or notes, invoices, bills, purchase

 orders, vouchers, pay requests, progress reports, inspection reports, quality records, contract

 drawings, engineering drawings, working drawings, shop drawings, sketches, diagrams,

 accounting records, checks, drafts, statements, audio or video recordings, schedules, bar charts,

 logic diagrams, network analysis, schedule of progress updates, diaries, daily reports, receipts,

 bills of lading, summaries, notations of any sort of conversations, printed matter, teletype, telefax,

 worksheets, studies, analyses, tabulations, comments, manuals, instructions, recorded

 recollections, all drafts, alterations, modifications, changes, and amendments of any of the

 foregoing, or any other written material of any nature whatsoever, as well as all graphic or oral

 records or representation of any kind (including, without limitation, photographs, charts, graphs,

 microfiche, microfilm, videotapes, recordings, motion pictures), and any electronic, mechanical

 or electrical records or representations of any kind (including, without limitation, Electronic mail,

 tapes, cassettes, discs, recordings in computer memories, metadata) and any other written,

 recorded, or reproduced material and any material underlying, supporting, or used in the

 preparation of any such document.

       10. “Communication” means all meetings, oral conversations, conferences, telephone

conversations, letters, telegrams, telexes, mailgrams, xerographic transmissions, faxes, emails,

transmissions between computer terminals, and all oral or written expressions however transmitted

or recorded.




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        11. The words “and” as well as “or” shall be construed either disjunctively or

 conjunctively as necessary to bring within the scope of a particular Requests any response which

 might otherwise be construed to be outside its scope.

        12. The phrase “relating to” or any derivative thereof means consisting of or referring to,

 reflecting, or being in any way legally, logically, or factually connected with the matter discussed.

        13. The use of the word “including” shall be construed to mean “without limitation.”

        14. Each named Plaintiff must respond separately and must submit responses under oath

 with a copy served on counsel for the Defendant.

        15. Your response to each Request must specifically admit or deny the matter set forth

 therein, or set forth in detail the reasons why the Request cannot truthfully be admitted or denied.

 A denial must fairly meet the substance of the requested admission. If your response is qualified

 in any way, you must specify that portion of the Request which is admitted and that portion which

 is qualified or denied. If you object to part of any Request, the part to which there is no objection

 must be admitted or denied.

        16. A Request for Admission may not be objected to solely on the basis that the matter for

 which an admission is requested presents a genuine issue for trial.

        17. Lack of knowledge or information is an insufficient basis for failure to admit or deny

 a Request for Admission, unless you have made reasonable inquiry and the information known

 to or readily obtainable by you is insufficient to enable you to admit or deny the Request. You

 shall not fail to answer any Request on the basis that another party is in whole or in part the subject

 of the Request, if the information either known to or readily obtainable by you upon reasonable

 inquiry is sufficient to enable you to respond to all or part of the Request.




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        18. These Requests are of an ongoing nature, and should you acquire additional

 information respective to these Requests, the answers shall be updated to provide the additional

 information.

        19. If a privilege not to answer is claimed, identify each matter as to which the privilege

 is claimed, the nature of the privilege, and the legal and factual basis for each such claim.

        20. Answer each Request on the basis of your entire knowledge, including information in

 the possession of you, your representatives, agents, and attorneys.

        21. The singular includes the plural and the plural includes the singular.

        22. If, in responding to these Requests, you claim any ambiguity in interpreting either the

 Request or a definition or instruction applicable thereto, do not use that claim as a basis for

 refusing to respond. Rather, respond to the Request, setting forth as part of the written response

 the language claimed to be ambiguous and the interpretation chosen or used in responding to the

 Request.

        23. Produce copies of all documents to which the responses refer.

        24. If you file objections to any of the Requests, you must nevertheless answer the

 remaining Requests within the required period of time.




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                               REQUESTS FOR ADMISSION



                                                 Admit that You are currently enrolled at the

University.

       RESPONSE TO REQUEST NO. 1:



                                                 Admit that You did not apply for any third-party

scholarships in connection with your enrollment at the University.

       RESPONSE TO REQUEST NO. 2:



                                                 Admit that You did not fill out a Free Application

for Federal Student Aid.

       RESPONSE TO REQUEST NO. 3:



                                                 Admit that You did not make any request to the

University for a refund of Your tuition for the Spring 2020 semester.

       RESPONSE TO REQUEST NO. 4:



                                                 Admit that You did not make any request to the

University for a refund of the fees charged by the University for the Spring 2020 semester.

       RESPONSE TO REQUEST NO. 5:




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                                                  Admit that You did not withdraw from the

University for the Spring 2020 academic semester.

        RESPONSE TO REQUEST NO. 6:



                                                  Admit that You did not seek to withdraw from

the University for the Spring 2020 academic semester.

        RESPONSE TO REQUEST NO. 7:



                                                  Admit that You re-enrolled at the University for

the Fall 2020 academic semester after knowing that the Fall 2020 Semester would be conducted

at least in-part remotely..

        RESPONSE TO REQUEST NO. 8:



                                                  Admit that, prior to the University’s transition to

remote instruction during the Spring 2020 academic semester, not every student at the University

used, or participated in, services relating to the Student Center Fee.

        RESPONSE TO REQUEST NO. 9:



                                                      Admit that, prior to the University’s transition

to remote instruction during the Spring 2020 academic semester, not every student at the

University used, or participated in, services relating to the Comprehensive Student Fee.

        RESPONSE TO REQUEST NO. 10:




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                                                       Admit that, prior to the University’s transition

to remote instruction during the Spring 2020 academic semester, not every student at the

University used, or participated in, services relating to the Student Wellbeing Fee.

        RESPONSE TO REQUEST NO. 11:



                                                       Admit that, after the University’s transition to

remote instruction during the Spring 2020 academic semester, students were able to participate in

(either remotely or in-person) some services, events, or student activities offered by the University.

        RESPONSE TO REQUEST NO. 12:



                                                       Admit that You used, or participated in, (either

remotely or in-person) at least one service, resource, event, or activity (including a student activity)

offered by the University after the University’s transition to remote instruction during the Spring

2020 academic semester.

        RESPONSE TO REQUEST NO. 13:



                                                       Admit that Your degree progress was not

slowed or impeded because of the University’s shift to remote instruction during the Spring 2020

academic semester.

        RESPONSE TO REQUEST NO. 14:




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                                                 Admit that You completed all courses for which

you were enrolled during the Spring 2020 academic semester.

       RESPONSE TO REQUEST NO. 15:



                                                 Admit that you received full credits for each

course that you completed during the Spring 2020 academic semester.

       RESPONSE TO REQUEST NO. 16:




                                               SAUL EWING ARNSTEIN & LEHR LLP

                                                 /s/ James D. Taylor, Jr.
                                                 James D. Taylor, Jr. (#4009)
                                                 Marisa R. De Feo (#6778)
                                                 Charles E. Davis (#6402)
                                                 Aubrey J. Morin (#6568)
                                                 1201 N. Market Street , Suite 2300
                                                 Wilmington, DE 19801
                                                 (302) 421-6800
                                                 james.taylor@saul.com
                                                 marisa.defeo@saul.com
                                                 chad.davis@saul.com
                                                 aubrey.morin@saul.com

                                               Counsel for Defendant University of Delaware
 Dated: March 24, 2022




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                    EXHIBIT 36
                     PUBLIC VERSION FILED 9/2/2022
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

  PENNY NINIVAGGI, et al., individually and
  on behalf of all others similarly situated,        Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

              v.

  UNIVERSITY OF DELAWARE,

                                   Defendant.

  HANNAH RUSSO, individually and on be-
  half of all others similarly situated,             Civil Action No. 20-cv-1693-SB

                                   Plaintiff,

              v.

  UNIVERSITY OF DELAWARE,

                                   Defendant.


  DEFENDANT THE UNIVERSITY OF DELAWARE’S SECOND SET OF REQUESTS
              FOR ADMISSION DIRECTED TO PLAINTIFFS

         Defendant the University of Delaware (the “University” or “Defendant”), by and through

its undersigned counsel, and pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure

(the “Rules”), hereby serves on Plaintiffs the following Requests for Admission (the “Requests”

and each a “Request”), and request each named Plaintiff separately admit to facts contained herein.

Pursuant to Rule 36(a)(3), if an answer to any Request for Admission is not received within thirty

(30) days, the facts contained in that Request for Admission will be deemed admitted.

                               DEFINITIONS AND INSTRUCTIONS

             1. “Action” means the above-captioned action.

             2. “Plaintiffs,” “You,” or “Your” means Penny Ninivaggi, Michael Ninivaggi, Todd



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 Mickey, Jake Mickey, James Nigrelli, Cailin Nigrelli, and Hannah Russo, and anyone purporting

 to act on your behalf or for your benefit at any time. For each named Plaintiff, “You” or “Your”

 shall mean that particular Plaintiff responding to the Requests.

         3. “Defendant” means the University of Delaware.

         4. The “University” means the University of Delaware.

         5. “Complaint” means the complaint filed by Russo in the Superior Court of Delaware

 under the name Russo v. University of Delaware (No. N20C-11-164 PRW CCLD), the complaint

 filed by Ninivaggi et al. in the Superior Court of Delaware under the name Ninivaggi et al. v.

 University of Delaware (No. N20C-08-121 DCS), or the Consolidated Class Action Complaint

 filed on September 3, 2021, in the above captioned matters. (See Russo D.I. 24).

         6.   “Answer” means the Answer and corresponding Affirmative Defenses to the

 Consolidated Class Action Complaint filed by the University on September 17, 2021. (See Russo

 D.I. 25).

         7. “Fees Class” means the putative class alleged in Paragraph 55 of the Consolidated

 Class Action Complaint. The University denies that any and all alleged “classes” can properly

 be certified in this matter, and reserves all rights to contest any allegation that such “classes” exist

 in this matter, so this label is only for reference during discovery.

         8.   “Use” or “Used” should be interpreted broadly to include its ordinary meaning, as

 well as to utilize, consume, take advantage of, or put into action or service.

         9.   “Document” or “documents” means the original and any non-identical copy (whether

 different from the originals because of notes made on such copies or otherwise) of writings or

 recordings of every kind and description, whether made by hand or by mechanical, electronic,



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 photographic, or other means including, but not limited to, letters, notes, correspondence,

 electronic mail, reports, proposals, change of orders, certifications, memoranda, agreements,

 contracts, contract modifications, field directives, clarifications, work orders, recordings,

 memorials of telephone conversations, meeting minutes, inter-office and intra-office

 communications, work papers, bids, bid evaluation records or notes, invoices, bills, purchase

 orders, vouchers, pay requests, progress reports, inspection reports, quality records, contract

 drawings, engineering drawings, working drawings, shop drawings, sketches, diagrams,

 accounting records, checks, drafts, statements, audio or video recordings, schedules, bar charts,

 logic diagrams, network analysis, schedule of progress updates, diaries, daily reports, receipts,

 bills of lading, summaries, notations of any sort of conversations, printed matter, teletype, telefax,

 worksheets, studies, analyses, tabulations, comments, manuals, instructions, recorded

 recollections, all drafts, alterations, modifications, changes, and amendments of any of the

 foregoing, or any other written material of any nature whatsoever, as well as all graphic or oral

 records or representation of any kind (including, without limitation, photographs, charts, graphs,

 microfiche, microfilm, videotapes, recordings, motion pictures), and any electronic, mechanical

 or electrical records or representations of any kind (including, without limitation, Electronic mail,

 tapes, cassettes, discs, recordings in computer memories, metadata) and any other written,

 recorded, or reproduced material and any material underlying, supporting, or used in the

 preparation of any such document.

       10. “Communication” means all meetings, oral conversations, conferences, telephone

conversations, letters, telegrams, telexes, mailgrams, xerographic transmissions, faxes, emails,

transmissions between computer terminals, and all oral or written expressions however transmitted

or recorded.




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        11. The words “and” as well as “or” shall be construed either disjunctively or

 conjunctively as necessary to bring within the scope of a particular Requests any response which

 might otherwise be construed to be outside its scope.

        12. The phrase “relating to” or any derivative thereof means consisting of or referring to,

 reflecting, or being in any way legally, logically, or factually connected with the matter discussed.

        13. The use of the word “including” shall be construed to mean “without limitation.”

        14. Each named Plaintiff must respond separately and must submit responses under oath

 with a copy served on counsel for the Defendant.

        15. Your response to each Request must specifically admit or deny the matter set forth

 therein, or set forth in detail the reasons why the Request cannot truthfully be admitted or denied.

 A denial must fairly meet the substance of the requested admission. If your response is qualified

 in any way, you must specify that portion of the Request which is admitted and that portion which

 is qualified or denied. If you object to part of any Request, the part to which there is no objection

 must be admitted or denied.

        16. A Request for Admission may not be objected to solely on the basis that the matter for

 which an admission is requested presents a genuine issue for trial.

        17. Lack of knowledge or information is an insufficient basis for failure to admit or deny

 a Request for Admission, unless you have made reasonable inquiry and the information known

 to or readily obtainable by you is insufficient to enable you to admit or deny the Request. You

 shall not fail to answer any Request on the basis that another party is in whole or in part the subject

 of the Request, if the information either known to or readily obtainable by you upon reasonable

 inquiry is sufficient to enable you to respond to all or part of the Request.




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        18. These Requests are of an ongoing nature, and should you acquire additional

 information respective to these Requests, the answers shall be updated to provide the additional

 information.

        19. If a privilege not to answer is claimed, identify each matter as to which the privilege

 is claimed, the nature of the privilege, and the legal and factual basis for each such claim.

        20. Answer each Request on the basis of your entire knowledge, including information in

 the possession of you, your representatives, agents, and attorneys.

        21. The singular includes the plural and the plural includes the singular.

        22. If, in responding to these Requests, you claim any ambiguity in interpreting either the

 Request or a definition or instruction applicable thereto, do not use that claim as a basis for

 refusing to respond. Rather, respond to the Request, setting forth as part of the written response

 the language claimed to be ambiguous and the interpretation chosen or used in responding to the

 Request.

        23. Produce copies of all documents to which the responses refer.

        24. If you file objections to any of the Requests, you must nevertheless answer the

 remaining Requests within the required period of time.




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                                REQUESTS FOR ADMISSION

                                                  Admit that the University continued to provide

health or medical services, including via video-conference, to its students during the Spring 2020

semester after the University transitioned to remote instruction.

       RESPONSE TO REQUEST NO. 1:



                                                  Admit that the University continued to provide

mental health counseling services, including via video-conference, to its students during the Spring

2020 semester after the University transitioned to remote instruction.

       RESPONSE TO REQUEST NO. 2:



                                                  Admit that the University continued to provide

virtual and online student activities, recreational programs, performing arts, student organization

activities, student meetings, or student programming to its students during the Spring 2020

semester after the University transitioned to remote instruction.

       RESPONSE TO REQUEST NO. 3:



                                                  Admit that executive orders issued by Delaware

Governor John C. Carney prohibited the University from offering in-person instruction during

portions of the Spring 2020 semester.

       RESPONSE TO REQUEST NO. 4:




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                                       SAUL EWING ARNSTEIN & LEHR LLP

                                           /s/ James D. Taylor, Jr.
                                           James D. Taylor, Jr. (#4009)
                                           Marisa R. De Feo (#6778)
                                           Charles E. Davis (#6402)
                                           Aubrey J. Morin (#6568)
                                           1201 N. Market Street , Suite 2300
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                                           james.taylor@saul.com
                                           marisa.defeo@saul.com
                                           chad.davis@saul.com
                                           aubrey.morin@saul.com

                                       Counsel for Defendant University of Delaware
 Dated: April 29, 2022




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                    EXHIBIT 37
                     PUBLIC VERSION FILED 9/2/2022
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                    Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                    Civil Action No. 20-cv-1693-SB

                                  Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.


         PLAINTIFF CAILIN NIGRELLI’S RESPONSES TO DEFENDANT
    UNIVERSITY OF DELAWARE’S FIRST SET OF REQUESTS FOR ADMISSION

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Cailin

Nigrelli (“Plaintiff”) through the undersigned responds to the following responses to the First Set

of Requests for Admission to Plaintiffs (each a “Request” and collectively, the “Requests”) by

the Defendant University of Delaware (“Defendant”). The following responses are made solely

for the purposes of this action. Each response is subject to all objections as to relevance,

materiality, and admissibility, and to any and all objections on any ground that would require

exclusion of any response if it were introduced in court.

       No incidental or implied admissions are intended by these responses. The fact that

Plaintiff has objected or responded to any Request shall not be deemed an admission that


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Plaintiff accepts or admits the existence of any facts set forth or assumed by such Request or that

such objection or response constitutes admissible evidence. The fact that Plaintiff has responded

to part or all of any Request is not intended to and shall not be construed to be a waiver by

Plaintiff of any part of any objection to any Request.

       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve

the right to modify, revise, supplement, or amend their responses to these Requests in accordance

with Fed. R. Civ. P. 26(e).

                      RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 1:

       Admit that You are currently enrolled at the University.

RESPONSE TO REQUEST NO. 1:

       Admitted.

REQUEST FOR ADMISSION NO. 2:

       Admit that You did not apply for any third-party scholarships in connection with your

enrollment at the University.

RESPONSE TO REQUEST NO. 2:

       Admitted.

REQUEST FOR ADMISSION NO. 3:

       Admit that You did not fill out Free Application for Federal Student Aid.




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RESPONSE TO REQUEST NO. 3:

       Admitted.

REQUEST FOR ADMISSION NO. 4:

       Admit that You did not make any request to the University for a refund of Your tuition

for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 4:

       Admitted.

REQUEST FOR ADMISSION NO. 5:

       Admit that You did not make any request to the University for a refund of the fees

charged by the University for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 5:

       Admitted.

REQUEST FOR ADMISSION NO. 6:

       Admit You did not withdraw from the University for the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 6:

       Admitted.

REQUEST FOR ADMISSION NO. 7:

       Admit that You did not seek withdraw from the University for the Spring 2020 academic

semester.

RESPONSE TO REQUEST NO. 7:

       Admitted.




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REQUEST FOR ADMISSION NO. 8:

       Admit that You re-enrolled at the University for the Fall 2020 academic semester after

knowing that the Fall 2020 Semester would be conducted at least in-part remotely.

RESPONSE TO REQUEST NO. 8:

       Denied.

REQUEST FOR ADMISSION NO. 9:

       Admit that, prior to the University’s transition to the remote instruction during the Spring

2020 academic semester, not every student at the University used, or participated in services

relation to the Student Center Free.

RESPONSE TO REQUEST NO. 9:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 10:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, not every student at the university used, or participated in services,

relating to the Student Center Fee.

RESPONSE TO REQUEST NO. 10:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 11:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, not every student at the university used, or participated in services,

relating to the Student Wellbeing Fee.



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RESPONSE TO REQUEST NO. 11:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 12:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, students were able to participate in (either remotely or in-person) some

services, events, or student activities offered by the University.

RESPONSE TO REQUEST NO. 12:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 13:

       Admit that You used, or participated in, (either remotely or in person) at least one

service, resource, event, or activity (including a student activity) offered by the University after

the University’s transition to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 13:

       Admitted.

REQUEST FOR ADMISSION NO. 14:

       Admit that Your degree progress was not slowed or impeded because of the university’s

shift to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 14:

       Denied.

REQUEST FOR ADMISSION NO. 15:

       Admit that You completed all courses for which you were enrolled during the Spring



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2020 academic semester.

RESPONSE TO REQUEST NO. 15:

      Denied.

REQUEST FOR ADMISSION NO. 16:

      Admit that you received full credits for each course that you completed during the Spring

2020 academic semester.

RESPONSE TO REQUEST NO. 16:

      Admitted.


Dated: May 9, 2022                         CHIMICLES SCHWARTZ KRINER &
                                           DONALDSON-SMITH LLP

                                                 /s/ Robert J. Kriner, Jr.
                                           Robert J. Kriner, Jr. (#2546)
                                           Scott M. Tucker (#4925)
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                                           Email: jarisohn@bursor.com

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                                           Attorneys for Plaintiffs




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Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 44 of 91 PageID #: 2472




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                    Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                    Civil Action No. 20-cv-1693-SB

                                  Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.


          PLAINTIFF JAKE MICKEY’S RESPONSES TO DEFENDANT
    UNIVERSITY OF DELAWARE’S FIRST SET OF REQUESTS FOR ADMISSION

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Jake

Mickey (“Plaintiff”) through the undersigned responds to the following responses to the First Set

of Requests for Admission to Plaintiffs (each a “Request” and collectively, the “Requests”) by

the Defendant University of Delaware (“Defendant”). The following responses are made solely

for the purposes of this action. Each response is subject to all objections as to relevance,

materiality, and admissibility, and to any and all objections on any ground that would require

exclusion of any response if it were introduced in court.

       No incidental or implied admissions are intended by these responses. The fact that

Plaintiff has objected or responded to any Request shall not be deemed an admission that


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Plaintiff accepts or admits the existence of any facts set forth or assumed by such Request or that

such objection or response constitutes admissible evidence. The fact that Plaintiff has responded

to part or all of any Request is not intended to and shall not be construed to be a waiver by

Plaintiff of any part of any objection to any Request.

       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve

the right to modify, revise, supplement, or amend their responses to these Requests in accordance

with Fed. R. Civ. P. 26(e).

                      RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 1:

       Admit that You are currently enrolled at the University.

RESPONSE TO REQUEST NO. 1:

       Admitted.

REQUEST FOR ADMISSION NO. 2:

       Admit that You did not apply for any third-party scholarships in connection with your

enrollment at the University.

RESPONSE TO REQUEST NO. 2:

       Admitted.

REQUEST FOR ADMISSION NO.3:

       Admit that You did not fill out Free Application for Federal Student Aid.

RESPONSE TO REQUEST NO. 3:

       Admitted.




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REQUEST FOR ADMISSION NO. 4:

       Admit that You did not make any request to the University for a refund of Your tuition

for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 4:

       Admitted.

REQUEST FOR ADMISSION NO. 5:

       Admit that You did not make any request to the University for a refund of the fees

charged by the University for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 5:

       Admitted.

REQUEST FOR ADMISSION NO. 6:

       Admit You did not withdraw from the University for the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 6:

       Admitted

REQUEST FOR ADMISSION NO. 7:

       Admit that You did not seek withdraw from the University for the Spring 2020 academic

semester.

RESPONSE TO REQUEST NO. 7:

       Admitted.

REQUEST FOR ADMISSION NO. 8:

       Admit that You re-enrolled at the University for the Fall 2020 academic semester after

knowing that the Fall 2020 Semester would be conducted at least in-part remotely.




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RESPONSE TO REQUEST NO. 8:

       Denied.

REQUEST FOR ADMISSION NO. 9:

       Admit that, prior to the University’s transition to the remote instruction during the Spring

2020 academic semester, not every student at the University used, or participated in services

relation to the Student Center Free.

RESPONSE TO REQUEST NO. 9:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 10:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, not every student at the university used, or participated in services,

relating to the Student Center Fee.

RESPONSE TO REQUEST NO. 10:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 11:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, not every student at the university used, or participated in services,

relating to the Student Wellbeing Fee.

RESPONSE TO REQUEST NO. 11:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.



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REQUEST FOR ADMISSION NO. 12:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, students were able to participate in (either remotely or in-person) some

services, events, or student activities offered by the University.

RESPONSE TO REQUEST NO. 12:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 13:

       Admit that You used, or participated in, (either remotely or in person) at least one

service, resource, event, or activity (including a student activity) offered by the University after

the University’s transition to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 13:

       Admitted.

REQUEST FOR ADMISSION NO. 14:

       Admit that Your degree progress was not slowed or impeded because of the university’s

shift to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 14:

       Denied.

REQUEST FOR ADMISSION NO. 15:

       Admit that You completed all courses for which you were enrolled during the Spring

2020 academic semester.

RESPONSE TO REQUEST NO. 15:

       Denied.



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REQUEST FOR ADMISSION NO. 16:

      Admit that you received full credits for each course that you completed during the Spring

2020 academic semester.

RESPONSE TO REQUEST NO. 16:

      Admitted.


Dated: May 9, 2022                         CHIMICLES SCHWARTZ KRINER &
                                           DONALDSON-SMITH LLP

                                                 /s/ Robert J. Kriner, Jr.
                                           Robert J. Kriner, Jr. (#2546)
                                           Scott M. Tucker (#4925)
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                                           BURSOR & FISHER, P.A.
                                           Sarah N. Westcot (admitted pro hac vice)
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                                           Attorneys for Plaintiffs




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                    Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                    Civil Action No. 20-cv-1693-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                   Defendant.


       PLAINTIFF MICHAEL NINIVAGGI’S RESPONSES TO DEFENDANT
    UNIVERSITY OF DELAWARE’S FIRST SET OF REQUESTS FOR ADMISSION

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Michel

Ninivaggi (“Plaintiff”) through the undersigned responds to the following responses to the First

Set of Requests for Admission to Plaintiffs (each a “Request” and collectively, the “Requests”)

by the Defendant University of Delaware (“Defendant”). The following responses are made

solely for the purposes of this action. Each response is subject to all objections as to relevance,

materiality, and admissibility, and to any and all objections on any ground that would require

exclusion of any response if it were introduced in court.


       No incidental or implied admissions are intended by these responses. The fact that

Plaintiff has objected or responded to any Request shall not be deemed an admission that

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Plaintiff accepts or admits the existence of any facts set forth or assumed by such Request or that

such objection or response constitutes admissible evidence. The fact that Plaintiff has responded

to part or all of any Request is not intended to and shall not be construed to be a waiver by

Plaintiff of any part of any objection to any Request.


       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiffs upon reasonable investigation. Plaintiffs expressly reserve

the right to modify, revise, supplement, or amend their responses to these Requests in accordance

with Fed. R. Civ. P. 26(e).

                      RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 1:

       Admit that You are currently enrolled at the University.

RESPONSE TO REQUEST NO. 1:

       Admitted.

REQUEST FOR ADMISSION NO. 2:

       Admit that You did not apply for any third-party scholarships in connection with your

enrollment at the University.

RESPONSE TO REQUEST NO. 2:

       Denied.

REQUEST FOR ADMISSION NO.3:

       Admit that You did not fill out Free Application for Federal Student Aid.




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RESPONSE TO REQUEST NO. 3:

       Denied. Plaintiff’s parents filled out a FASFA application on Plaintiff’s behalf.

REQUEST FOR ADMISSION NO. 4:

       Admit that You did not make any request to the University for a refund of Your tuition

for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 4:

       Admitted.

REQUEST FOR ADMISSION NO. 5:

       Admit that You did not make any request to the University for a refund of the fees

charged by the University for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 5:

       Admitted.

REQUEST FOR ADMISSION NO. 6:

       Admit You did not withdraw from the University for the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 6:

       Admitted.

REQUEST FOR ADMISSION NO. 7:

       Admit that You did not seek withdraw from the University for the Spring 2020 academic

semester.

RESPONSE TO REQUEST NO. 7:

       Admitted.

REQUEST FOR ADMISSION NO. 8:

       Admit that You re-enrolled at the University for the Fall 2020 academic semester after



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knowing that the Fall 2020 Semester would be conducted at least in-part remotely.

RESPONSE TO REQUEST NO. 8:

       Denied.

REQUEST FOR ADMISSION NO. 9:

       Admit that, prior to the University’s transition to the remote instruction during the Spring

2020 academic semester, not every student at the University used, or participated in services

relation to the Student Center Free.

RESPONSE TO REQUEST NO. 9:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 10:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, not every student at the university used, or participated in services,

relating to the Student Center Fee.

RESPONSE TO REQUEST NO. 10:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 11:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, not every student at the university used, or participated in services,

relating to the Student Wellbeing Fee.

RESPONSE TO REQUEST NO. 11:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a



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belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 12:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, students were able to participate in (either remotely or in-person) some

services, events, or student activities offered by the University.

RESPONSE TO REQUEST NO. 12:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 13:

       Admit that You used, or participated in, (either remotely or in person) at least one

service, resource, event, or activity (including a student activity) offered by the University after

the University’s transition to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 13:

       Admitted.

REQUEST FOR ADMISSION NO. 14:

       Admit that Your degree progress was not slowed or impeded because of the university’s

shift to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 14:

       Denied.

REQUEST FOR ADMISSION NO. 15:

       Admit that You completed all courses for which you were enrolled during the Spring

2020 academic semester.




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RESPONSE TO REQUEST NO. 15:

      Denied.

REQUEST FOR ADMISSION NO. 16:

      Admit that you received full credits for each course that you completed during the Spring

2020 academic semester.

RESPONSE TO REQUEST NO. 16:

      Admitted.


Dated: May 9, 2022                         CHIMICLES SCHWARTZ KRINER &
                                           DONALDSON-SMITH LLP

                                                 /s/ Robert J. Kriner, Jr.
                                           Robert J. Kriner, Jr. (#2546)
                                           Scott M. Tucker (#4925)
                                           2711 Centerville Road, Suite 201
                                           Wilmington, DE 19808
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                                           Attorneys for Plaintiffs




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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                 Civil Action No. 20-cv-1478-SB

                                  Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                 Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                 Civil Action No. 20-cv-1693-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.



PLAINTIFF’S RESPONSES TO DEFENDANT UNIVERSITY OF DELAWARE’S FIRST
                  SET OF REQUESTS FOR ADMISSION

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff, Hannah

 Russo (“Plaintiff”) through the undersigned responds to the First Set of Requests for Admission

 to Plaintiffs (each a “Request” and collectively, the “Requests”) by the Defendant University of

 Delaware (“Defendant”). The following responses are made solely for the purposes of this action.

 Each response is subject to all objections as to relevance, materiality, and admissibility, and to

 any and all objections on any ground that would require exclusion of any response if it were

 introduced in court.




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       No incidental or implied admissions are intended by these responses. The fact that Plaintiff

 has objected or responded to any Request shall not be deemed an admission that Plaintiff accepts

 or admits the existence of any facts set forth or assumed by such Request or that such objection

 or response constitutes admissible evidence. The fact that Plaintiff has responded to part or all

 of any Request is not intended to and shall not be construed to be a waiver by Plaintiff of any part

 of any objection to any Request.

       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiff upon reasonable investigation. Plaintiff expressly reserves the

right to modify, revise, supplement, or amend these responses to the Requests in accordance with

Fed. R. Civ. P. 26(e).

                         RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 1:

       Admit that You are currently enrolled at the University.

RESPONSE TO REQUEST NO.1:

Admitted.

REQUEST FOR ADMISSION NO. 2:

       Admit that You did not apply for any third-party scholarships in connection with your

enrollment at the University.

RESPONSE TO REQUEST NO. 2:

Admitted.

REQUEST FOR ADMISSION NO.3:

       Admit that You did not fill out Free Application for Federal Student Aid.




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RESPONSE TO REQUEST NO. 3:

Denied.

REQUEST FOR ADMISSION NO. 4:

       Admit that You did not make any request to the University for a refund of Your tuition

for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 4:

Admitted.

REQUEST FOR ADMISSION NO. 5:

       Admit that You did not make any request to the University for a refund of the fees charged

by the University for the Spring 2020 semester.

RESPONSE TO REQUEST NO. 5:

Admitted.

REQUEST FOR ADMISSION NO. 6:

       Admit You did not withdraw from the University for the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 6:

Admitted.

REQUEST FOR ADMISSION NO. 7:

       Admit that You did not seek withdraw from the University for the Spring 2020 academic

semester.

RESPONSE TO REQUEST NO. 7:

Admitted.




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REQUEST FOR ADMISSION NO. 8:

       Admit that You re-enrolled at the University for the Fall 2020 academic semester after

knowing that the Fall 2020 Semester would be conducted at least in-part remotely.

RESPONSE TO REQUEST NO. 8:

Admitted to the extent that she had a strong belief that not 100% of classes are going to be held

remotely.

REQUEST FOR ADMISSION NO. 9:

       Admit that, prior to the University’s transition to the remote instruction during the Spring

2020 academic semester, not every student at the University used, or participated in. services

relation to the Student Center Free.

RESPONSE TO REQUEST NO. 9:

Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief as to

this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 10:

       Admit that, prior to the University’s transition to remote instruction during the spring 2020

academic semester, not every student at the university used, or participated in services, relating to

the Student Center Fee.

RESPONSE TO REQUEST NO. 10:

Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief as to

this request and therefore denies the same.




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REQUEST FOR ADMISSION NO. 11:

       Admit that, prior to the University’s transition to remote instruction during the spring 2020

academic semester, not every student at the university used, or participated in services, relating to

the Student Wellbeing Fee.

RESPONSE TO REQUEST NO. 11:

Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief as to

this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 12:

       Admit that, prior to the University’s transition to remote instruction during the spring

2020 academic semester, students were able to participate in (either remotely or in-person) some

services, events, or student activities offered by the University.

RESPONSE TO REQUEST NO. 12:

Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief as to

this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 13:

       Admit that You used, or participated in, (either remotely or in person) at least one

service, resource, event, or activity (including a student activity) offered by the University after

the University’s transition to remote instruction during the Spring 2020 academic semester.

RESPONSE TO REQUEST NO. 13:

Admitted.

REQUEST FOR ADMISSION NO. 14:

       Admit that Your degree progress was not slowed or impeded because of the university’s

shift to remote instruction during the Spring 2020 academic semester.



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RESPONSE TO REQUEST NO. 14:

Denied.

REQUEST FOR ADMISSION NO. 15:

      Admit that You completed all courses for which you were enrolled during the Spring

2020 academic semester.

RESPONSE TO REQUEST NO. 15:

Denied.

REQUEST FOR ADMISSION NO. 16:

      Admit that you received full credits for each course that you completed during the Spring

2020 academic semester.

RESPONSE TO REQUEST NO. 16:

Admitted.




Dated: May 9, 2022                                Respectfully Submitted,

                                                  CROSS & SIMON, LLC

                                                  /s/ Michael L. Vild
                                                  Michael L. Vild (No. 3042)
                                                  Christopher P. Simon (No. 3697)
                                                  1105 N. Market Street, Suite 901
                                                  P.O. Box 1380
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                                                 -AND-

                                           ANASTOPOULO LAW FIRM, LLC
                                           Eric M. Poulin (Pro Hac Vice)
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                                           AND PROPOSED CLASS




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                    EXHIBIT 38
                     PUBLIC VERSION FILED 9/2/2022
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                 Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                 Civil Action No. 20-cv-1693-SB

                                  Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.


        PLAINTIFF CAILIN NIGRELLI’S RESPONSES TO DEFENDANT
  UNIVERSITY OF DELAWARE’S SECOND SET OF REQUESTS FOR ADMISSION

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Cailin

Nigrelli (“Plaintiff”) through the undersigned responds to the Second Set of Requests for

Admission to Plaintiffs (each a “Request” and collectively, the “Requests”) by the Defendant

University of Delaware (“Defendant”). The following responses are made solely for the purposes

of this action. Each response is subject to all objections as to relevance, materiality, and

admissibility, and to any and all objections on any ground that would require exclusion of any

response if it were introduced in court.

       No incidental or implied admissions are intended by these responses. The fact that Plaintiff

has objected or responded to any Request shall not be deemed an admission that Plaintiff accepts


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or admits the existence of any facts set forth or assumed by such Request or that such objection or

response constitutes admissible evidence. The fact that Plaintiff has responded to part or all of any

Request is not intended to and shall not be construed to be a waiver by Plaintiff of any part of any

objection to any Request.

       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiff upon reasonable investigation. Plaintiff expressly reserves the

right to modify, revise, supplement, or amend responses to these Requests in accordance with Fed.

R. Civ. P. 26(e).

                         RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 17 [Incorrectly Labeled as RFA No. 1]:

       Admit that the University continued to provide health or medical services, including via

video-conference, to its students during the Spring 2020 semester after the University transitioned

to remote instruction.

RESPONSE TO REQUEST NO. 17:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 18 [Incorrectly Labeled as RFA No. 2]:

       Admit that the University continued to provide mental health counseling services,

including via video-conference, to its students during the Spring 2020 semester after the University

transitioned to remote instruction.

RESPONSE TO REQUEST NO. 18:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief

as to this request and therefore denies the same.


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REQUEST FOR ADMISSION NO. 19 [Incorrectly Labeled as RFA No. 3]:

       Admit that the University continued to provide virtual and online student activities,

recreational programs, performing arts, student organization activities, student meetings, or

student programming to its students during the Spring 2020 semester after the University

transitioned to remote instruction.

RESPONSE TO REQUEST NO. 19:

       Admitted. The University may have provided some virtual online student programming

during Spring 2020 semester.          Plaintiff does not have knowledge of the specific virtual

programming provided. The University did not provide the on-campus student programming,

recreational programs, performing arts programs, or student organization activities for which

students contracted when enrolling for Spring 2020 semester.

REQUEST FOR ADMISSION NO. 20 [Incorrectly Labeled as RFA No. 4]:

       Admit that executive orders issued by Delaware Governor John C. Carney prohibited the

University from offering in-person instruction during portions of the Spring 2020 semester.

RESPONSE TO REQUEST NO. 20:

       Denied. The executive orders issued by Delaware Governor John C. Carney did not

specifically prohibit the University from offering in-person instruction.


Dated: May 27, 2022                            CHIMICLES SCHWARTZ KRINER &
                                               DONALDSON-SMITH LLP

                                                     /s/ Robert J. Kriner, Jr.
                                               Robert J. Kriner, Jr. (#2546)
                                               Scott M. Tucker (#4925)
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                                    Attorneys for Plaintiff and the Proposed Class




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Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 68 of 91 PageID #: 2496




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                   Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                   Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                   Civil Action No. 20-cv-1693-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                   Defendant.


         PLAINTIFF JAKE MICKEY’S RESPONSES TO DEFENDANT
  UNIVERSITY OF DELAWARE’S SECOND SET OF REQUESTS FOR ADMISSION

        Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Jake Mickey

(“Plaintiff”) through the undersigned responds to the Second Set of Requests for Admission to

Plaintiffs (each a “Request” and collectively, the “Requests”) by the Defendant University of

Delaware (“Defendant”). The following responses are made solely for the purposes of this action.

Each response is subject to all objections as to relevance, materiality, and admissibility, and to any

and all objections on any ground that would require exclusion of any response if it were introduced

in court.

        No incidental or implied admissions are intended by these responses. The fact that Plaintiff

has objected or responded to any Request shall not be deemed an admission that Plaintiff accepts


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or admits the existence of any facts set forth or assumed by such Request or that such objection or

response constitutes admissible evidence. The fact that Plaintiff has responded to part or all of any

Request is not intended to and shall not be construed to be a waiver by Plaintiff of any part of any

objection to any Request.

       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiff upon reasonable investigation. Plaintiff expressly reserves the

right to modify, revise, supplement, or amend responses to these Requests in accordance with Fed.

R. Civ. P. 26(e).

                         RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 17 [Incorrectly Labeled as RFA No. 1]:

       Admit that the University continued to provide health or medical services, including via

video-conference, to its students during the Spring 2020 semester after the University transitioned

to remote instruction.

RESPONSE TO REQUEST NO. 17:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 18 [Incorrectly Labeled as RFA No. 2]:

       Admit that the University continued to provide mental health counseling services,

including via video-conference, to its students during the Spring 2020 semester after the University

transitioned to remote instruction.

RESPONSE TO REQUEST NO. 18:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a

belief as to this request and therefore denies the same.


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REQUEST FOR ADMISSION NO. 19 [Incorrectly Labeled as RFA No. 3]:

       Admit that the University continued to provide virtual and online student activities,

recreational programs, performing arts, student organization activities, student meetings, or

student programming to its students during the Spring 2020 semester after the University

transitioned to remote instruction.

RESPONSE TO REQUEST NO. 19:

       Admitted. The University may have provided some virtual online student programming

during Spring 2020 semester.          Plaintiff does not have knowledge of the specific virtual

programming provided. The University did not provide the on-campus student programming,

recreational programs, performing arts programs, or student organization activities for which

students contracted when enrolling for Spring 2020 semester.

REQUEST FOR ADMISSION NO. 20 [Incorrectly Labeled as RFA No. 4]:

       Admit that executive orders issued by Delaware Governor John C. Carney prohibited the

University from offering in-person instruction during portions of the Spring 2020 semester.

RESPONSE TO REQUEST NO. 20:

       Denied. The executive orders issued by Delaware Governor John C. Carney did not

specifically prohibit the University from offering in-person instruction.


Dated: May 27, 2022                            CHIMICLES SCHWARTZ KRINER &
                                               DONALDSON-SMITH LLP

                                                     /s/ Robert J. Kriner, Jr.
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Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 71 of 91 PageID #: 2499




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                                    Attorneys for Plaintiff and the Proposed Class




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Case 1:20-cv-01478-SB Document 96-2 Filed 09/02/22 Page 72 of 91 PageID #: 2500




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

PENNY NINIVAGGI, et al., individually and on
behalf of all others similarly situated,                 Civil Action No. 20-cv-1478-SB

                                   Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.

HANNAH RUSSO, et al., individually and on
behalf of all others similarly situated,                 Civil Action No. 20-cv-1693-SB

                                  Plaintiffs,

       v.

UNIVERSITY OF DELAWARE,

                                  Defendant.


      PLAINTIFF MICHAEL NINIVAGGI’S RESPONSES TO DEFENDANT
  UNIVERSITY OF DELAWARE’S SECOND SET OF REQUESTS FOR ADMISSION

       Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, Plaintiff Michel

Ninivaggi (“Plaintiff”) through the undersigned responds to the First Set of Requests for

Admission to Plaintiffs (each a “Request” and collectively, the “Requests”) by the Defendant

University of Delaware (“Defendant”). The following responses are made solely for the purposes

of this action. Each response is subject to all objections as to relevance, materiality, and

admissibility, and to any and all objections on any ground that would require exclusion of any

response if it were introduced in court.


       No incidental or implied admissions are intended by these responses. The fact that Plaintiff

has objected or responded to any Request shall not be deemed an admission that Plaintiff accepts

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or admits the existence of any facts set forth or assumed by such Request or that such objection or

response constitutes admissible evidence. The fact that Plaintiff has responded to part or all of any

Request is not intended to and shall not be construed to be a waiver by Plaintiff of any part of any

objection to any Request.


       The responses and objections are made on the basis of information and writing currently

available to and located by Plaintiff upon reasonable investigation. Plaintiff expressly reserves the

right to modify, revise, supplement, or amend responses to these Requests in accordance with Fed.

R. Civ. P. 26(e).

                         RESPONSES TO REQUESTS FOR ADMISSION


REQUEST FOR ADMISSION NO. 17 [Incorrectly Labeled as RFA No. 1]:

       Admit that the University continued to provide health or medical services, including via

video-conference, to its students during the Spring 2020 semester after the University transitioned

to remote instruction.

RESPONSE TO REQUEST NO. 17:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief

as to this request and therefore denies the same.

REQUEST FOR ADMISSION NO. 18 [Incorrectly Labeled as RFA No. 2]:

       Admit that the University continued to provide mental health counseling services,

including via video-conference, to its students during the Spring 2020 semester after the University

transitioned to remote instruction.

RESPONSE TO REQUEST NO. 18:

       Denied. Plaintiff does not have sufficient knowledge and information so as to form a belief

as to this request and therefore denies the same.

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REQUEST FOR ADMISSION NO. 19 [Incorrectly Labeled as RFA No. 3]:

       Admit that the University continued to provide virtual and online student activities,

recreational programs, performing arts, student organization activities, student meetings, or

student programming to its students during the Spring 2020 semester after the University

transitioned to remote instruction.

RESPONSE TO REQUEST NO. 19:

       Admitted. The University may have provided some virtual online student programming

during Spring 2020 semester.          Plaintiff does not have knowledge of the specific virtual

programming provided. The University did not provide the on-campus student programming,

recreational programs, performing arts programs, or student organization activities for which

students contracted when enrolling for Spring 2020 semester.

REQUEST FOR ADMISSION NO. 20 [Incorrectly Labeled as RFA No. 4]:

       Admit that executive orders issued by Delaware Governor John C. Carney prohibited the

University from offering in-person instruction during portions of the Spring 2020 semester.

RESPONSE TO REQUEST NO. 20:

       Denied. The executive orders issued by Delaware Governor John C. Carney did not

specifically prohibit the University from offering in-person instruction.


Dated: May 27, 2022                            CHIMICLES SCHWARTZ KRINER &
                                               DONALDSON-SMITH LLP

                                                     /s/ Robert J. Kriner, Jr.
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                    EXHIBIT 40
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                                                                                  Delaware




                                            FACTS AND FIGURES


      ABOUT UD (/ABOUT/)

       LEADERSHIP (/ABOUT/LEADERSHIP/)                                                                           +
       MISSION (/ABOUT/MISSION/)

       EXPERIENCE UD (/ABOUT/VISIT/)

       UD AND THE STATE OF DELAWARE (/ABOUT/UD-STATE-DELAWARE/)

       HISTORY (/ABOUT/HISTORY/)

       FACTS & FIGURES (/ABOUT/FACTS-FIGURES/)                                                                   −
        UD FINANCIAL PROFILE (/ABOUT/FACTS-FIGURES/FINANCIAL-PROFILE/)

       UD COMMUNITY (/ABOUT/UD-COMMUNITY/)

       VALUES (/ABOUT/VALUES/)




    ENROLLMENT

https://www.udel.edu/about/facts-figures/                                                                            1/16
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                                                                                  Delaware




                                                     
                                                       18,618
                                             undergraduate students




                                                       
                                                        4,285
                                                 graduate students



                                                      
                                                          710
                                                  Professional &
                                            Continuing Studies students




                                                      
                                                       23,613
                                                   total enrollment




    Main Campus: Newark, Delaware

    Established: 1743


https://www.udel.edu/about/facts-figures/                                                                        2/16
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                                                                                  Delaware


    Motto: Knowledge is the light of the mind

    President: Dennis Assanis

    Employees: 4,746

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    250+ graduate and post-baccalaureate programs


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           College of Arts & Sciences (https://www.cas.udel.edu)

           Lerner College of Business & Economics (https://www.lerner.udel.edu)

           (https://www.lerner.udel.edu)College of Earth, Ocean and Environment
           (/academics/colleges/ceoe/)

           College of Education & Human Development (https://www.cehd.udel.edu)

           College of Engineering (https://www.engr.udel.edu)

           College of Health Sciences (/academics/colleges/chs/)

           Graduate College (https://www.grad.udel.edu)

           Honors College (https://sites.udel.edu/honors/)

           Biden School (https://www.bidenschool.udel.edu/)




https://www.udel.edu/about/facts-figures/                                                                        3/16
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                    EXHIBIT 44
                    REDACTED IN ITS ENTIRETY
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                    EXHIBIT 45
                    REDACTED IN ITS ENTIRETY
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                    EXHIBIT 46
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                    EXHIBIT 47
                     REDACTED IN ITS ENTIRETY
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                    EXHIBIT 48
                    REDACTED IN ITS ENTIRETY
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                    EXHIBIT 49
                    REDACTED IN ITS ENTIRETY
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                    EXHIBIT 50
                     REDACTED IN ITS ENTIRETY
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                    EXHIBIT 51
                    REDACTED IN ITS ENTIRETY
